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s                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA

(1)   SUZETTE GRILLOT,                          )
                                                )
                   Plaintiff,                   )
                                                )
v.                                              )   Case No: CIV-19-241-F
                                                )
(1)   STATE OF OKLAHOMA, ex rel.,               )
      (UNIVERSITY OF OKLAHOMA                   )
      BOARD OF REGENTS);                        )
                                                )
And                                             )
                                                )
(2)   JAMES L. GALLOGLY, (in his                )
      individual and official capacities)       )
      PRESIDENT, UNIVERSITY OF                  )
      OKLAHOMA;                                 )
                                                )
And                                             )   JURY TRIAL DEMANDED
                                                )   ATTORNEY LIEN
(3)   JON KYLE HARPER, (in his                  )
      individual and official capacities)       )
      SENIOR VICE PRESIDENT AND                 )
      PROVOST, UNIVERSITY OF                    )
      OKLAHOMA.                                 )
                                                )
                   Defendants.                  )


                                    COMPLAINT

      COMES NOW the Plaintiff, Suzette Grillot, “Plaintiff” and for her causes of

action hereby alleges and states as follows: During and throughout the period between

December of 2017 and March of 2019, continuing to the present, Plaintiff publicly

commented on matters of public concern regarding actions of the Defendants: University


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of Oklahoma Board of Regents, President James L. Gallogly, and Senior Vice President

and Provost Jon Kyle Harper. As a result, Plaintiff has suffered and continues to suffer

unlawful adverse employment actions in the form of loss of roles, responsibilities, and

wages, including but not limited to the positions of Dean of the College of International

Studies, Vice Provost of International Programs, and Title of the William J. Crowe Chair

in Geopolitics. Furthermore, during and prior to this period, Defendants unlawfully

subjected Plaintiff to wage discrimination on the basis of her gender.

                            JURISDICTION AND VENUE

       1.     Plaintiff Suzette Grillot is a female who is a citizen of Oklahoma City,

Oklahoma, located in Oklahoma County, within the boundaries of the United States

Western Federal District of the State of Oklahoma.

       2.     Defendant University of Oklahoma (“OU”) is a government entity,

governed by the University of Oklahoma Board of Regents (“BOR OU”). At all times

relevant, Defendant was operating within the State of Oklahoma and within the Western

Federal District of the State of Oklahoma.

       3.     The acts of Defendant(s) alleged herein and giving rise to this action all

occurred in Cleveland County, State of Oklahoma and Oklahoma County, State of

Oklahoma.

       4.     Jurisdiction in this court is appropriate pursuant to 28 U.S.C. §1331, as

Plaintiff’s claims involve matters or issues under federal law.

       5.     This Court has Supplemental Jurisdiction pursuant to 28 U.S.C. § 1367

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       6.      Venue is appropriate in this court pursuant to 28 U.S.C. § 1391, as the

Defendant OU conducts business and operations, and may be located and served within

the boundaries of the Western District Federal Court of Oklahoma, and the substantial

part of the events and/or emissions giving rise to this action occurred in the Western

District of Oklahoma.

                                         PARTIES

       7.      Plaintiff is Suzette Grillot, Ph.D., a tenured-faculty member in Department

of International and Area Studies, within the College of International Studies, at the

University of Oklahoma. Until recently, she also held the titles and positions of Dean of

the College of International Studies, Vice Provost for International Programs, William J.

Crowe Jr. Chair in Geopolitics.

       8.      Defendant OU is a subdivision of the Oklahoma State Government,

organized under the Constitution of the State of Oklahoma, organized and controlled

pursuant to the Statutes of the State of Oklahoma.

       9.      The University of Oklahoma Board of Regents is the governing body

responsible for the University of Oklahoma.

       10.     Defendant Gallogly is President of the University of Oklahoma, reports to

the Board of Regents, is chief executive official of the University, responsible for all

administrative actions.




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       11.     Defendant Jon Kyle Harper is Senior Vice President and Provost, who

reports directly to Defendant Gallogly and who was the direct supervisor of Plaintiff

Grillot during the time of relevant events.

                               ALLEGATIONS OF FACT

       12.     Plaintiff Grillot has been employed by the Defendant OU since January

1999, serving, progressively, in the capacities of Visiting Assistant Professor, Assistant

Professor, Associate Professor, Associate Director, Associate Dean, Full Professor,

Interim Dean, Dean, Vice Provost, and William J. Crowe, Jr. Chair in Geopolitics.

       13.     Plaintiff Grillot was employed as Dean of the David L. Boren College of

International Studies and Vice Provost of International Programs at the University of

Oklahoma (OU) for Defendant OU from on or about December of 2012 until January 18,

2019 and January 21, 2019, respectively.

       14.     As Dean of the David L. Boren College of International Studies (CIS),

Plaintiff served the University in the official capacity of CIS Chief Academic Officer,

with the primary charge of fulfilling the mission, vision, and core values of CIS with

respect to CIS students, prospective students, faculty, staff, donors, key stakeholders, and

alumni. The Dean of CIS has dual reporting responsibilities to the OU President and

Provost. The College of International Studies distinguishes itself from other colleges at

OU insomuch as a central element of its purpose is to further the interests of those of

foreign national origins, minority races and ethnicities, and to further their cultures

though advocacy, dialogue, academic engagement, and the provision of comprehensive

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support of beneficiary stakeholders. CIS is also substantially and significantly comprised

of faculty, staff, and students of a minority race, ethnicity, and foreign national origin.

       15.     As Vice Provost for International Programs, Plaintiff served in the official

capacity of Senior International Officer with the primary charge of oversight and

responsibility for OU’s campus-wide international engagement, including that of OU-

Norman, OU-Health Sciences Center, OU-Tulsa, OU-Italy, OU-Mexico, and OU-Brazil.

As Vice Provost, Dr. Grillot was the ultimate authority at OU specifically responsible for

the success of OU’s international students on all OU campuses.

       16.     As Dean of CIS and Vice Provost for International Programs, Dr. Grillot

served as the most prominent leader, champion, and voice for causes related to these

protected groups at OU.

       17.     During the course of her employment, Defendant OU subjected Plaintiff to

wage discrimination on the basis of gender.

       18.     During the course of her employment, Defendant OU subjected Plaintiff to

a hostile work environment and disparate treatment in the form of gender discrimination.

       19.     Specifically, Plaintiff was compensated disproportionately less than male

employees performing substantially equal work for the last three (3) years.

       20.     Over the course of the last three (3) years leading up to January 2019, peer,

male Deans at OU were paid more than Plaintiff for performing equal work, work of

substantially equal skill, effort, and responsibility under similar working conditions.




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       21.      Plaintiff had additional roles and responsibilities as Vice Provost for

International Programs that were above and beyond that of Dean of CIS and her peer,

male Deans.

       22.      Plaintiff reported and complained of the pay inequity between herself and

male colleagues to her immediate supervisor, Defendant Kyle Harper.

       23.      Defendant Harper tacitly acknowledged gender-based pay inequity

regarding Plaintiff Grillot’s pay by and through his action in June of 2015 to increase

Plaintiff’s salary. Yet, Defendant Harper failed to adequately correct the illegal condition

of inequity by administering an increase in pay that did not adequately resolve the

inequities.

       24.      In a meeting on November 26, 2019, multiple OU employees, including

Plaintiff, made Defendant Harper, Defendant Gallogly, and OU Human Resources

Executive Staff aware of clear, long-existent, ongoing and unresolved gender-based pay

inequities among OU employees at OU. Defendant Gallogly acknowledged areas of

concern, and Defendant Harper dismissed such as frivolous publications by the student

newspaper, the OU Daily.

       25.      During the course of her employment, Defendants wrongfully demoted

Plaintiff in retaliation for her engagement in protected speech on matters of public

concern.

       26.      During the course of her employment and after being removed from the

positions of Dean and Vice Provost, Defendants unlawfully removed numerous roles and

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responsibilities of the Plaintiff’s that are not clear or direct elements of the

responsibilities of the position of Dean of CIS, officially or unofficially. They include but

are not limited to:

                a.    Removal of role, responsibility, and compensation as leader of the

                      President’s Community Scholars (PCS) study-abroad programs on

                      February 5, 2019

                b.    Removal of title, role, responsibility, and resources associated with

                      the William J. Crowe, Jr. Chair in Geopolitics in the Department of

                      International and Area Studies on March 1, 2019.

                c.    Retroactive change in compensation after firing to move overload

                      teaching assignments to in-load requirements, resulting in a further

                      loss of just compensation.

        27.     Plaintiff made numerous public statements, critical of OU administration

and administrative actions, in the period of December 2017 until, throughout and after

January 18, 2019, the date Defendant Harper executed her dismissal from the position of

Dean.

        28.     In December of 2017, Plaintiff publicly criticized University of Oklahoma

Regent, Kirk Humphreys for making derogatory comments on the basis of sexuality on

television.




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       29.     At numerous instances in January and February of 2018, Plaintiff publicly

commented about the University of Oklahoma Board of Regents’ (BOR OU) secretive

manner in which the search for a new OU President was being conducted at the time.

       30.     In February of 2018, an OU Regent directly criticized Plaintiff for her

public comments given in February of 2018.

       31.     On March 26, 2018, Plaintiff delivered a public letter, signed by more than

500 members of the public, in addition to Plaintiff, that commented further on the

selection process, selection itself, and solicited questions of OU President-Designate,

Defendant James L. Gallogly, who had just been selected by the OU BOR as the new

president in a non-transparent search.

       32.     On April 18th of 2018, Defendant Harper held a meeting with Plaintiff in

which he criticized her for her recent public remarks.

       33.     Sometime after Defendant Gallogly’s selection, but prior to his assumption

of the Office of the President of OU, Defendant Gallogly made public comments that

indicated staff layoffs at OU were under consideration. In response, Plaintiff made a

public statement on June 24, 2018, in which she raised concern for the potential disparate

impact on women such layoffs could have at OU.

       34.     On July 12, 2018, Defendant Harper held a meeting with Plaintiff in which

he requested two (2) memos from Plaintiff: (1) justification for the continued existence of

the College of International Studies; (2) justification for short-term study abroad

programs. The following day Defendant Harper requested, by email, information

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regarding the existence of and potential closing of international study centers in Mexico

and Brazil.

       35.     In the afternoon of July 19th, 2018, Defendants Gallogly and Harper held a

meeting with Plaintiff – a meeting that had been previously scheduled to discuss the

requests for information regarding the study centers, study abroad programming, and

other requests.

       36.     During the meeting Defendant Gallogly used a raised voice to verbally

reprimand her for making information public that ought not be public. Defendants’

articulated justification for this was Plaintiff’s inability to understand the fiscal context of

that which she made public. Defendant Gallogly made such statements as: “You wouldn’t

understand the budget even if I showed it to you. You are just an academic. You just

study the world. I have worked around the world. My passport is twice as thick as yours.”

       37.     In months following, Plaintiff was informed by colleagues, members of the

public, and others that Defendant Gallogly was indirectly and directly referring to her as

emotional, unprofessional, over-reactive and not to be trusted.

       38.     On August 8, 2018, Defendant Harper criticized Plaintiff’s use of social

media to voice her opinions. Defendant Harper stated that she was “unprofessional and

untrustworthy.” Later, in the same conversation, Plaintiff specifically asked Defendant

Harper if there was an issue with the performance of her duties, to which he responded

that “[her] performance was appropriate for the past administration, but that they would

see how [she] adapt[s] to the new regime and new priorities.”

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       39.    On August 14, 2018 Plaintiff Grillot met with Defendant Harper and

Associate Provost Stewart Berkinshaw to discuss budget reductions for CIS. Throughout

the conversation Defendant Harper consistently referred to CIS in a negative way and

referred to Plaintiff Grillot as “juvenile” when she questioned whether the new

administration considered international education a priority.

       40.    On October 16, 2018 Plaintiff Grillot met with Defendant Gallogly,

Defendant Harper, Associate Provost Berkinshaw and then-acting Chief Financial Officer

Ken Rowe to discuss the CIS budget. Defendant Gallogly denied during the conversation

that CIS was relevant to the University’s diversity efforts.

       41.    On November 6, 2018, Defendant Harper informed Grillot that the

submission of her annual “self-evaluation” was six days past due and requested the

evaluation. Plaintiff informed Defendant Harper that she had concerns about having

never been formally evaluated in her entire time as Dean of CIS and OU Vice Provost for

International Programs. Upon information and belief, Plaintiff was singled out for such

treatment in retaliation for her protected speech.

       42.    On January 12, 2019, Defendant Harper informed Plaintiff, via phone, that

the College of International Studies would receive numerous, targeted cuts in funding

from the central administration, amounting to an approximate 47% reduction in funding

in contrast to the previous fiscal year. During the conversation, Plaintiff questioned the

reasoning for the cuts to the targeted areas that included OU in RIO. OU in Rio is the

brand name of a program that facilitates and provides for the exchange of students from

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both Brazil to attend OU and OU students to study in Brazil, increases opportunities for

scholarly activity by OU faculty whose discipline encompasses Brazil or are themselves

Brazilian nationals, of a minority race, ethnicity, and foreign national origin; and serves

to recruit prospective students, faculty, and staff from Brazil into the enrollment at or

employ of OU. Plaintiff stated that the program could, despite the cuts, continue to run at

reduced-cost with CIS’s remaining funds and resources.

       43.    This action was executed because Defendant Harper and Defendant

Gallogly disapprove of the practice of University moneys benefiting foreign nationals

who are also members of a minority race and ethnicity. The closure of the OU in Rio

program would have narrow, yet severe, disparate negative impact on students, faculty

and staff of a minority race, ethnicity and foreign national origin. Acting and speaking

upon the conviction that such cuts and prescribed actions were, on their face,

discriminatory against students, faculty and staff upon the conditions of their protected

classes of race and national origin, Plaintiff advised Defendant Harper that this was a bad

decision and would not be well-received by members of the public. Defendant Harper

advised Plaintiff that any communications regarding the cuts would need to be done in

coordination with him. Defendant Harper stated that he was Plaintiff’s superior and she

his subordinate, and that she was obligated to comply. Plaintiff acknowledged the

professional relationship but stated that she did not do things that she thought were

wrong. Plaintiff offered no assurances that she would not publicize the contents of this




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conversation, given that the information was and is a matter of public concern and

protected by the First Amendment.

       44.    On January 17, 2019, Defendant Harper delivered a negative performance

memo to Plaintiff based on her advocacy and protected speech.

       45.    Defendant Harper held a meeting the following day, January 18, 2019, in

which he and a Human Resources Executive staff-member informed Plaintiff she could

no longer continue in the role as Dean, the dismissal effective that day, 5:00 p.m. January

18, 2019. Defendants presented Plaintiff with three (3) options:

              1.     Resign from the university, from her faculty and Dean positions;

                     receive one (1) year of current pay and enter into a mutual non-

                     disclosure contract.

              2.     Be removed as Dean and retain faculty title; receive 1-year of dean

                     stipend and enter into non-disparagement contract.

              3.     Be removed as Dean, retain faculty position at faculty pay.

       46.    Plaintiff was dismissed for reasons including, but not limited to repeated

exercise of First Amendment protected speech.

       47.    Until January 17, 2019, Plaintiff had never received a negative employment

performance review or been subjected to performance-related adverse action.

       48.    Until January 17, 2019, Plaintiff had a demonstrated record of successful

performance in the fulfillment of her responsible duties at OU.

       49.    On January 21, 2019, Plaintiff, by and through counsel, elected “Option 3”.

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       50.     Later, on January 21, Plaintiff released a public statement regarding her

dismissal as “Dean.”

       51.     Later, on January 21, 2019, Defendant Harper, dismissed Plaintiff, via

email, from the positions of Dean and Vice Provost of International Programs, this

communication being the first mention of her discharge from the position of Vice

Provost.

       52.     The termination of her position as Vice Provost is reflective of the animus

Defendant Harper possesses for Plaintiff’s protected activity and is, on its face,

retaliation.

       53.     Plaintiff retained her employment as a tenured faculty member at OU and

title of the William J. Crowe, Jr. Chair in Geopolitics.

       54.     On January 22, 2019, Plaintiff spoke critically of Defendant Gallogly, OU

administration, and the OU BOR in a public forum in a building on the OU-Norman,

Oklahoma campus.

       55.     On January 29, 2019, Plaintiff’s office computer was confiscated without

notice or cause; and done with the purpose of further intimidating, harassing and

retaliating against her. Plaintiff filed a police report. As a result, Plaintiff was unable to

perform duties and functions relating to her position of faculty during this time.

       56.     On January 31, 2019, Plaintiff’s immediate supervisor, Associate Dean of

CIS, Dr. Mitchell Smith, informed Plaintiff that she would retain the title of the endowed

William J. Crowe, Jr. Chair in Geopolitics.

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       57.    On February 5, 2019, Plaintiff was informed, via phone, by acting-Vice

President for Student Affairs, Kristen Partridge, that because of her public comments on

January 22, 2019, her services involving the President’s Community Scholars study

abroad programs were no longer appropriate.

       58.    On March 1, 2019, via email letter, Defendant Harper advised Plaintiff that

she would no longer be in possession of the title of the Crowe Chair and altered the

Plaintiff’s compensation for the current (Spring 2019) semester.

       59.    Plaintiff has filed an employment charge with the U.S. Equal Employment

Opportunity Commission against the Defendant University of Oklahoma, Defendant

James Gallogly, and Defendant Kyle Harper under Title VII of the U.S. Civil Rights Act

of 1964 for gender discrimination and retaliation for protected activity. Plaintiff is

currently awaiting her right to sue on the basis of Title VII. Leave to amend the Title VII

claims will be sought at that time.

                    I. THE EQUAL PAY ACT, 29 USC §206 (d)(1)

       60.    The Plaintiff adopts and incorporates paragraphs 1-59 above, as if fully set

forth herein, and further states the following:

       61.    This cause of action is presented by Plaintiff against Defendant OU.

       62.    The acts of Defendant in failing to pay Plaintiff equally as men for

comparable work violates The Equal Pay Act.




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       63.     As a result, Plaintiff is entitled to recover lost wages, plus liquidated

damages along with attorneys’ fees, costs, and pre-judgment interest and any other relief

the Court deems appropriate in excess of 75,000 dollars.

                     II. THE FIRST AMENDMENT, 42 U.S.C. §1983

       64.     The Plaintiff adopts and incorporates paragraphs 1-59 above, as if fully set

forth herein, and further states the following:

       65.     In their individual capacities, Defendant Harper and Defendant Gallogly’s

actions to terminate Plaintiff’s employment position as Dean and Vice Provost, the roles,

responsibilities, and wages therein lost, the expressed and unexpressed cause for the

action being Plaintiff’s protected speech, violates her First Amendment rights.

       66.     Defendants’ actions to terminate Plaintiff’s employment roles and

responsibilities unassociated with the position of Dean or Vice Provost, and wages

therein lost, the expressed and unexpressed cause for the action being Plaintiff’s

protected speech, violates her First Amendment rights.

       67.     As a result, Plaintiff is entitled to recover lost wages - back and future,

damages for emotional pain and suffering, attorneys’ fees and costs, and pre-judgment

interest.

       68.     Because Defendants Gallogly and Harper’s actions were willful and in bad

faith, Plaintiff is entitled to punitive damages in excess of 75,000 dollars.

 III. TORTIOUS INTERFERENCE OF BUSINESS RELATIONS, PURSUAN TO

        THE COURT’S SUPPLEMENTAL JURISDICTION, 28 U.S.C. § 1367

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       69.    The Plaintiff adopts and incorporates paragraphs 1-59 above, as if fully set

forth herein, and further states the following:

       70.    This cause of action is presented by Plaintiff against Defendant Gallogly

and Defendant Harper.

       71.    The acts of Defendants Gallogly and Harper against Plaintiff tortiously

interfered with her business opportunities and contracts by retaliating against her and

punishing her for her constitutionally protected conduct, as well as her gender.

       72.    As a result, Plaintiff is entitled to recover actual, compensatory and

punitive damages from Defendants Gallogly and Harper in excess of 75,000 dollars.

       WHEREFORE, premises considered and for the reasons set forth herein, Plaintiff

respectfully prays the Court declare Defendants’ actions to be in violation of the Law

and award Plaintiff her actual damages, lost wages, back pay and front pay,

compensatory damages, liquidated damages, damages for emotional pain and suffering,

and punitive damages, each as described and demanded above, in excess of 75,000

dollars, together with any further legal and/or equitable relief the Court determines to be

appropriate under the laws of the United States and the State of Oklahoma, in addition to

pre-judgment and post-judgment interest, as well as Plaintiff’s costs and reasonable

attorneys’ fees.

       RESPECTFULLY SUBMITTED THIS 28th DAY OF MARCH, 2019.




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                                  Respectfully,



                                  s/ Rand C. Eddy________________
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